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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


                                    )
MARY CHACE,                         )
                                    )
                  Plaintiff,        )               Case No. CV 09-195-S-MHW
                                    )
      v.                            )               ORDER
                                    )
FIRST HORIZON HOME LOANS, et al., )
                                    )
                  Defendants.       )
____________________________________)

       Upon Plaintiff's Motion of Dismissal (Docket No. 2) pursuant to Fed. R. Civ. P. 41(a), it

is hereby ordered that the case is DISMISSED.

                                                    DATED: December 29, 2009



                                                    Honorable Mikel H. Williams
                                                    United States Magistrate Judge
